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 6

 7
                            UNITED STATES DISTRICT COURT
 8                         CENTRAL DISTRICT OF CALIFORNIA
 9
10        James Fortune,
11
                                 Plaintiff,              Case No:
12

13                v.                                     COMPLAINT

14        Brian Wilson Productions, Inc.,                DEMAND FOR JURY TRIAL
15
                                 Defendant.
16

17           Plaintiff James Fortune (“Plaintiff”), by and through its undersigned
18     counsel, for its Complaint against defendant Brian Wilson Productions, Inc.
19     (“Defendant”) states and alleges as follows:
20                                       INTRODUCTION
21           1.        This action seeks to recover damages for copyright infringement.
22           2.        Plaintiff herein creates photographic images and owns the rights to
23     these images which Plaintiff licenses for various uses including online and print
24     publications.
25           3.        Plaintiff has obtained U.S. copyright registrations covering many of
26     Plaintiff's images and many others are the subject of pending copyright
27     applications.
28

                                                         1
                                              PLAINTIFF'S COMPLAINT
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 1
             4.     Defendant owns and operates a social media account on a Account
 2
       known as www.instagram.com (the “Account”).
 3
             5.     Defendant, without permission or authorization from Plaintiff
 4
       actively copied, stored, and/or displayed Plaintiff's Photograph on the Account
 5
       and engaged in this misconduct knowingly and in violation of the United States
 6
       copyright laws.
 7
                                           PARTIES
 8
              6.    Plaintiff James Fortune is an individual who is a citizen of the State
 9
       of Virginia and maintains a principal place of business 12420 N. Oaks Drive,
10
       Ashland in Hanover County, Virginia.
11
              7.    On information and belief, defendant Brian Wilson Productions, Inc.
12
       is a California Corporation with a principal place of business at 15760 Ventura
13
       Blvd, Encino in Los Angeles County, California and is liable and responsible to
14
       Plaintiff based on the facts herein alleged.
15
                               JURISDICTION AND VENUE
16
             8.     This Court has subject matter jurisdiction over the federal copyright
17
       infringement claims pursuant to 28 U.S.C. §1338(a) and 28 U.S.C. §1331.
18
              9.    This Court has personal jurisdiction over Brian Wilson Productions,
19
       Inc. because it maintains its principal place of business in California.
20
              10.   Venue is proper under 28 U.S.C. §1391(a)(2) because Brian Wilson
21
       Productions, Inc. does business in this Judicial District and/or because a
22
       substantial part of the events or omissions giving rise to the claim occurred in this
23
       Judicial District.
24
                            FACTS COMMON TO ALL CLAIMS
25
             11.    Plaintiff is a professional photographer by trade who is the legal and
26
       rightful owners of photographs which Plaintiff licenses to online and print
27
       publications.
28

                                                    2
                                         PLAINTIFF'S COMPLAINT
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 1
             12.    Plaintiff has invested significant time and money in building
 2
       Plaintiff's photograph portfolio.
 3
             13.    Plaintiff has obtained active and valid copyright registrations from
 4
       the United States Copyright Office (the “USCO”) which cover many of Plaintiff's
 5
       photographs while many others are the subject of pending copyright applications.
 6
             14.    Plaintiff's photographs are original, creative works in which
 7
       Plaintiff's own protectable copyright interests.
 8
              15.   Brian Wilson Productions, Inc. is the registered owner of the
 9
       Account and is responsible for its content.
10
              16.   Brian Wilson Productions, Inc. is the operator of the Account and is
11
       responsible for its content.
12
             17.    Plaintiff James Fortune authored a photograph of Keith Moon and
13
       Brian Wilson (the “Photograph”). A copy of the Photograph is attached hereto as
14
       Exhibit 1.
15
              18.   On November 4, 1999, the Photograph was registered by USCO
16
       under Registration No. Vau 477-427.
17
              19.   On April 26, 2019 Plaintiff observed the Photograph on the Account.
18
       A copy of screengrab of Account including the Photograph is attached hereto as
19
       Exhibit 2.
20
              20.   The        Photograph         was        displayed      at       URL:
21
       https://www.instagram.com/p/Buhw6fWHH-Q/.
22
              21.   Without permission or authorization from Plaintiff, Defendant
23
       volitionally selected, copied, stored and/or displayed Plaintiff copyright protected
24
       Photograph as set forth in Exhibit “1” which is annexed hereto and incorporated
25
       in its entirety herein, on the Account.
26
             22.    On information and belief, the Photograph was copied, stored and
27
       displayed without license or permission, thereby infringing on Plaintiff's
28

                                                      3
                                           PLAINTIFF'S COMPLAINT
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 1
       copyrights (hereinafter the “Infringement”).
 2
             23.    The Infringement includes a URL (“Uniform Resource Locator”) for
 3
       a fixed tangible medium of expression that was sufficiently permanent or stable
 4
       to permit it to be communicated for a period of more than transitory duration and
 5
       therefore constitutes a specific infringement. 17 U.S.C. §106(5); Perfect 10, Inc.
 6
       v. Amazon.com, Inc.508 F.3d 1146, 1160 (9th Cir. 2007).
 7
             24.    The Infringement is an exact copy of the entirety of Plaintiff's
 8
       original image that was directly copied and stored by Defendant on the Account.
 9
             25.    On information and belief, Defendant takes an active and pervasive
10
       role in the content posted on its Account, including, but not limited to copying,
11
       posting, selecting, commenting on and/or displaying images including but not
12
       limited to Plaintiff's Photograph.
13
             26.    On information and belief, the Photograph was willfully and
14
       volitionally posted to the Account by Defendant.
15
             27.    On information and belief, Defendant engaged in the Infringement
16
       knowingly and in violation of applicable United States Copyright Laws.
17
             28.    On information and belief, Defendant has the legal right and ability
18
       to control and limit the infringing activities on its Account and exercised and/or
19
       had the right and ability to exercise such right.
20
             29.    On information and belief, Defendant monitors the content on its
21
       Account.
22
             30.    On information and belief, Defendant has received a financial benefit
23
       directly attributable to the Infringement.
24
             31.    On information and belief, the Infringement increased traffic to the
25
       Account and, in turn, caused Defendant to realize an increase its revenues and/or
26
       merchandise sales.
27
             32.    On information and belief, a large number of people have viewed the
28

                                                       4
                                            PLAINTIFF'S COMPLAINT
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 1
       unlawful copies of the Photograph on the Account.
 2
             33.    On information and belief, Defendant at all times had the ability to
 3
       stop the reproduction and display of Plaintiff's copyrighted material.
 4
             34.    Defendant's use of the Photograph, if widespread, would harm
 5
       Plaintiff's potential market for the Photograph.
 6
             35.    As a result of Defendant's misconduct, Plaintiff has been
 7
       substantially harmed.
 8
                                      FIRST COUNT
 9                 (Direct Copyright Infringement, 17 U.S.C. §501 et seq.)
10           36.    Plaintiff repeats and incorporates by reference the allegations
11     contained in the preceding paragraphs, as though set forth in full herein.
12           37.    The Photograph is an original, creative works in which Plaintiff owns
13     valid copyright properly registered with the United States Copyright Office.
14           38.    Plaintiff has not licensed Defendant the right to use the Photograph
15     in any manner, nor has Plaintiff assigned any of its exclusive rights in the
16     copyrights to Defendant.
17           39.    Without permission or authorization from Plaintiff and in willful
18     violation of Plaintiff's rights under 17 U.S.C. §106, Defendant improperly and
19     illegally copied, stored, reproduced, distributed, adapted, and/or publicly
20     displayed works copyrighted by Plaintiff thereby violating one of Plaintiff's
21     exclusive rights in its copyrights.
22           40.    Defendant's reproduction of the Photograph and display of the
23     Photograph constitutes willful copyright infringement. Feist Publications, Inc. v.
24     Rural Telephone Service Co., Inc., 499 U.S. 340, 361 (1991).
25           41.    Plaintiff is informed and believes and thereon alleges that the
26     Defendant willfully infringed upon Plaintiff's copyrighted Photograph in violation
27     of Title 17 of the U.S. Code, in that they used, published, communicated, posted,
28

                                                    5
                                         PLAINTIFF'S COMPLAINT
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 1
       publicized, and otherwise held out to the public for commercial benefit, the
 2
       original and unique Photograph of the Plaintiff without Plaintiff's consent or
 3
       authority, by using them in the infringing articles on the Account.
 4
             42.    As a result of Defendant's violations of Title 17 of the U.S. Code,
 5
       Plaintiff is entitled to any an award of actual damages and disgorgement of all of
 6
       Defendant's profits attributable to the infringements as provided by 17 U.S.C. §
 7
       504 in an amount to be proven or, in the alternative, at Plaintiff's election, an
 8
       award for statutory damages against each Defendant in an amount up to
 9
       $150,000.00 for each infringement pursuant to 17 U.S.C. § 504(c).
10
             43.    As a result of the Defendant' violations of Title 17 of the U.S. Code,
11
       the court in its discretion may allow the recovery of full costs as well as reasonable
12
       attorney's fees and costs pursuant to 17 U.S.C. § 505 from Defendant.
13
             44.    As a result of Defendant's violations of Title 17 of the U.S. Code,
14
       Plaintiff is entitled to injunctive relief to prevent or restrain infringement of his
15
       copyright pursuant to 17 U.S.C. § 502.
16
                                         JURY DEMAND
17
             45.    Plaintiff hereby demands a trial of this action by jury.
18
                                    PRAYER FOR RELIEF
19
             WHEREFORE Plaintiff respectfully requests judgment as follows:
20
             That the Court enters a judgment finding that Defendant has infringed on
21
       Plaintiff's rights to the Photograph in violation of 17 U.S.C. §501 et seq. and
22
       award damages and monetary relief as follows:
23
                    a.     finding that Defendant infringed Plaintiff's copyright interest
24
                           in the Photograph by copying and displaying without a license
25
                           or consent;
26
                    b.     for an award of actual damages and disgorgement of all of
27
                           Defendant's profits attributable to the infringements as
28

                                                     6
                                          PLAINTIFF'S COMPLAINT
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 1
                        provided by 17 U.S.C. § 504 in an amount to be proven or, in
 2
                        the alternative, at Plaintiff's election, an award for statutory
 3
                        damages against each Defendant in an amount up to
 4
                        $150,000.00 for each infringement pursuant to 17 U.S.C. §
 5
                        504(c), whichever is larger;
 6
                   c.   for an order pursuant to 17 U.S.C. § 502(a) enjoining
 7
                        Defendant from any infringing use of any of Plaintiff's works;
 8
                   d.   for costs of litigation and reasonable attorney's fees against
 9
                        Defendant pursuant to 17 U.S.C. § 505;
10
                   e.   for pre judgment interest as permitted by law; and
11
                   f.   for any other relief the Court deems just and proper.
12

13     DATED: August 25, 2021

14                                         SANDERS LAW GROUP
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                                      PLAINTIFF'S COMPLAINT
